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                   EXHIBIT 1
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A. Plaintiffs respectfully request that the Court deem “authentic” for purposes of satisfying Rule

   901 of the Federal Rules of Evidence any documents Plaintiffs have a good faith basis to

   believe were in fact created by Defendant Vanguard, including, but not limited to:

               1.     Discord – Dillon1488

               2.     Discord – White-PowerStroke

               3.     Discord – WhitePower_Stroke (Discord ID: 375095101719838723)

               4.     Discord – White-PowerStroke(Dillon) (Discord ID: 200103874801958912)

               5.     Discord– White_PowerStroke(Dillon) (Discord ID: 329868457824878593)

               6.     Discord - White-PowerStroke(Dillon)#6190

               7.     Discord – White-PowerStroke(Dillon)#2615

               8.     Discord – UncleBob#6190

               9.     Discord – Thomas Ryan (Discord ID: 255039575758602240)

               10.    Discord – Thomas Ryan (Discord ID: 363070228864696330)

               11.    Discord – Commander#770

               12.    Email – Dillon_hopper@protonmail.com

               13.    Email – AmericanVFinance@gmail.com

               14.    Email – VanAmAdmin@protonmail.com

               15.    Email – AmericanVanguardIndiana@tutamail.com

               16.    Email – duhizzlemanizzle@gmail.com

               17.    Email – Thomasrousseau98

               18.    Email – Tutanota

               19.    Facebook – vanguard.america

               20.    Gab – WomenofVanguard

               21.    Gab – @WhitePowerStroke

               22.    Twitter – @VanAmOfficial
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              23.     Twitter – @VanguardAm

              24.     Twitter – @VanAmOfficial

              25.     Twitter – @TrueAmVanguard

              26.     Twitter – @Vanguard_Indy

              27.     Daily Stormer – Lauburu

              28.     Iron March – Lauburu88

B. Plaintiffs respectfully request that the Court instruct the jury that Defendant Vanguard chose

   to intentionally withhold its documents and that the jury may draw adverse inferences from

   that fact, including that Vanguard chose to withhold such documents because it was aware that

   such documents contained evidence that Defendant Vanguard conspired to plan racially-

   motivated violence at the Unite the Right event.




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